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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION
   FINESSE WIRELESS, LLC              §
                                      §
                Plaintiff,            §
   v.                                 §                       CASE NO. 2:21-CV-00316-JRG
                                      §                        (LEAD CASE)
   AT&T MOBILITY, LLC,                §
                                      §                       CASE NO. 2:21-CV-00317-JRG
                                      §                        (MEMBER CASE)
                Defendant.            §
                                      §
                                      §
   FINESSE WIRELESS, LLC,             §
                                      §
                Plaintiff,            §
   v.                                 §
   CELLCO PARTNERSHIP d/b/a           §                        JURY TRIAL DEMANDED
   VERIZON WIRELESS,                  §
                                      §
                Defendants,           §
                                      §
   NOKIA OF AMERICA CORPORATION, §
                                      §
                                      §
                Defendant-Intervenor. §



                            THIRD AMENDED DOCKET CONTROL ORDER

         In accordance with the scheduling conference held in this case, it is hereby ORDERED

  that the following schedule of deadlines is in effect until further notice of the Court:

       Original            Amended          Description
       Deadline            Deadline

   January 6, 2023                          *Jury Selection — 9:00 a.m. in Marshall, Texas
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        Current          Proposed        Description
        Deadline         Deadline

      December 5,                        * If a juror questionnaire is to be used, an editable (in
         2022                            Microsoft Word format) questionnaire shall be jointly
                                         submitted to the Deputy Clerk in Charge by this date. 1

      November 28,                       *Pretrial Conference — 9:00 a.m. in Marshall, Texas
         2022                            before Judge Rodney Gilstrap

      November 21,                       *Notify Court of Agreements Reached During Meet
         2022                            and Confer
                                         The parties are ordered to meet and confer on any
                                         outstanding objections or motions in limine. The
                                         parties shall advise the Court of any agreements
                                         reached no later than 1:00 p.m. three (3) business days
                                         before the pretrial conference.

      November 21,                       *File Joint Pretrial Order, Joint Proposed Jury
         2022                            Instructions, Joint Proposed Verdict Form, Responses
                                         to Motions in Limine, Updated Exhibit Lists, Updated
                                         Witness Lists, and Updated Deposition Designations

      November 14,                       *File Notice of Request for Daily Transcript or Real
         2022                            Time Reporting.
                                         If a daily transcript or real time reporting of court
                                         proceedings is requested for trial, the party or parties
                                         making said request shall file a notice with the Court.

      November 7,                        File Motions in Limine
         2022
                                         The parties shall limit their motions in limine to issues
                                         that if improperly introduced at trial would be so
                                         prejudicial that the Court could not alleviate the
                                         prejudice by giving appropriate instructions to the jury.

      November 7,                        Serve Objections to Rebuttal Pretrial Disclosures
         2022

       October 31,                       Serve Objections to Pretrial Disclosures; and Serve
          2022                           Rebuttal Pretrial Disclosures



  1
   The Parties are referred to the Court’s Standing Order Regarding Use of Juror Questionnaires in
  Advance of Voir Dire.



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         Current           Proposed        Description
         Deadline          Deadline

        October 27,     October 28, 2022   *Response to Dispositive Motions (including Daubert
           2022                            Motions). Responses to dispositive motions that were
                                           filed prior to the dispositive motion deadline, including
                                           Daubert Motions, shall be due in accordance with
                                           Local Rule CV-7(e), not to exceed the deadline as set
                                           forth in this Docket Control Order.2 Motions for
                                           Summary Judgment shall comply with Local Rule CV-
                                           56.

        October 17,                        Serve Pretrial Disclosures (Witness List, Deposition
           2022                            Designations, and Exhibit List) by the Party with the
                                           Burden of Proof

        October 10,     October 11, 2022   *File Motions to Strike Expert Testimony (including
           2022                            Daubert Motions)
                                           No motion to strike expert testimony (including a
                                           Daubert motion) may be filed after this date without
                                           leave of the Court.

        October 10,     October 11, 2022   *File Dispositive Motions
           2022
                                           No dispositive motion may be filed after this date
                                           without leave of the Court.
                                           Motions shall comply with Local Rule CV-56 and
                                           Local Rule CV-7. Motions to extend page limits will
                                           only be granted in exceptional circumstances.
                                           Exceptional circumstances require more than agreement
                                           among the parties.

      October 8, 2022   October 10, 2022   Deadline to Complete Expert Discovery
  (*) indicates a deadline that cannot be changed without showing good cause. Good cause is
  not shown merely by indicating that the parties agree that the deadline should be changed.




  2
    The parties are directed to Local Rule CV-7(d), which provides in part that “[a] party’s failure to
  oppose a motion in the manner prescribed herein creates a presumption that the party does not
  controvert the facts set out by movant and has no evidence to offer in opposition to the motion.”
  If the deadline under Local Rule CV 7(e) exceeds the deadline for Response to Dispositive
  Motions, the deadline for Response to Dispositive Motions controls.



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                                 ADDITIONAL REQUIREMENTS

          Mediation: While certain cases may benefit from mediation, such may not be appropriate
  for every case. The Court finds that the Parties are best suited to evaluate whether mediation will
  benefit the case after the issuance of the Court’s claim construction order. Accordingly, the Court
  ORDERS the Parties to file a Joint Notice indicating whether the case should be referred for
  mediation within fourteen days of the issuance of the Court’s claim construction order. As a
  part of such Joint Notice, the Parties should indicate whether they have a mutually agreeable
  mediator for the Court to consider. If the Parties disagree about whether mediation is appropriate,
  the Parties should set forth a brief statement of their competing positions in the Joint Notice.

          Summary Judgment Motions, Motions to Strike Expert Testimony, and Daubed
  Motions: For each motion, the moving party shall provide the Court with two (2) hard copies of
  the completed briefing (opening motion, response, reply, and if applicable, sur-reply), excluding
  exhibits, in D-three-ring binders, appropriately tabbed. All documents shall be single-sided and
  must include the CM/ECF header. These copies shall be delivered to the Court within three (3)
  business days after briefing has completed. For expert-related motions, complete digital copies of
  the relevant expert report(s) and accompanying exhibits shall be submitted on a single flash drive
  to the Court. Complete digital copies of the expert report(s) shall be delivered to the Court no later
  than the dispositive motion deadline.

          Indefiniteness: In lieu of early motions for summary judgment, the parties are directed to
  include any arguments related to the issue of indefiniteness in their Markman briefing, subject to
  the local rules’ normal page limits.

         Lead Counsel: The Parties are directed to Local Rule CV-11(a)(1), which provides that
  “[o]n the first appearance through counsel, each party shall designate a lead attorney on the
  pleadings or otherwise.” Additionally, once designated, a party’s lead attorney may only be
  changed by the filing of a Motion to Change Lead Counsel and thereafter obtaining from the Court
  an Order granting leave to designate different lead counsel.

          Motions for Continuance: The following excuses will not warrant a continuance nor
  justify a failure to comply with the discovery deadline:

  (a)    The fact that there are motions for summary judgment or motions to dismiss pending;

  (b)    The fact that one or more of the attorneys is set for trial in another court on the same day,
         unless the other setting was made prior to the date of this order or was made as a special
         provision for the parties in the other case;

  (c)    The failure to complete discovery prior to trial, unless the parties can demonstrate that it
         was impossible to complete discovery despite their good faith effort to do so.

         Amendments to the Docket Control Order (“DCO”): Any motion to alter any date on
  the DCO shall take the form of a motion to amend the DCO. The motion to amend the DCO shall
  include a proposed order that lists all of the remaining dates in one column (as above) and the
  proposed changes to each date in an additional adjacent column (if there is no change for a date
  the proposed date column should remain blank or indicate that it is unchanged). In other words,


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  the DCO in the proposed order should be complete such that one can clearly see all the remaining
  deadlines and the changes, if any, to those deadlines, rather than needing to also refer to an earlier
  version of the DCO.

         Proposed DCO: The Parties’ Proposed DCO should also follow the format described
  above
     .  under “Amendments to the Docket Control Order (‘DCO’).”

          Joint Pretrial Order: In the contentions of the Parties included in the Joint Pretrial Order,
  the Plaintiff shall specify all allegedly infringed claims that will be asserted at trial. The Plaintiff
  shall also specify the nature of each theory of infringement, including under which subsections of
  35 U.S.C. § 271 it alleges infringement, and whether the Plaintiff alleges divided infringement or
  infringement under the doctrine of equivalents. Each Defendant shall indicate the nature of each
  theory of invalidity, including invalidity for anticipation, obviousness, subject-matter eligibility,
  written description, enablement, or any other basis for invalidity. The Defendant shall also specify
  each prior art reference or combination of references upon which the Defendant shall rely at trial,
  with respect to each theory of invalidity. The contentions of the Parties may not be amended,
  supplemented, or dropped without leave of the Court based upon a showing of good cause.

        So ORDERED and SIGNED this 5th day of October, 2022.




                                                             ____________________________________
                                                             RODNEY GILSTRAP
                                                             UNITED STATES DISTRICT JUDGE




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